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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           WESTERN DIVISION

BRIARWOOD OFFICE CENTER II
CONDOMINIUM ASSOCIATION,

                  Plaintiff,
                                                          Case No.: 24-cv-50177
           v.
                                                          Judge Iain D. Johnston
 WEST BEND MUTUAL INSURANCE
 COMPANY,

                  Defendant.



                     MEMORANDUM OPINION AND ORDER


      This Order concerns a breach of contract action between Plaintiff Briarwood

Officer Center II Condominium Association (“Briarwood”) and its property insurer,

Defendant West Bend Mutual Insurance Company (“West Bend”). Because the action

was already resolved by a binding appraisal award, the Court grants West Bend’s

motion for judgment on the pleadings [31].

      I.        Background

      Under the appraisal clause of the Parties’ agreed insurance policy, either party

may demand a binding appraisal of the loss if they cannot otherwise agree on the

extent of property damage. Dkt. 31, 2. In this event, each party selects a competent

and impartial appraiser to independently assess the damages.          Id.   When the

independent appraisers reach different figures, almost inevitably, each party submits




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their estimate to a mutually selected third-party arbitrator, called an “umpire.” Id.

As the Policy states, “[a] decision agreed to by any two will be binding.” Id.

      Briarwood decided to play those odds, seeking a large appraisal award to

replace the roof on a commercial building damaged in a hailstorm. Dkt. 1-1, ¶¶ 9, 15.

But no party to the appraisal recommended the total roof replacement Briarwood was

hoping for. Id. at ¶¶ 15–16. Instead, Briarwood’s appraiser recommended roughly

$89,000 to repair roof accessories, and West Bend and the umpire agreed to a roughly

$75,000 award. Dkt. 31 at 8.

      Unhappy with the outcome of the appraisal, Briarwood filed the instant breach

of contract action for $500,000. West Bend then moved for judgment on the pleadings

under Federal Rule of Civil Procedure 12(c), correctly noting that the appraisal award

binds both parties, as stated in the Policy.

      II.     Analysis

      When challenging the sufficiency of a complaint, a motion for judgment on the

pleadings under Rule 12(c) is governed by the same standard as a motion to dismiss

under Rule 12(b)(6): The court views the complaint's allegations and reasonable

inferences in favor of the nonmovant to decide whether the complaint states a claim

that is plausible on its face. Vinson v. Vermilion County, 776 F.3d 924, 928 (7th Cir.

2015). Note the qualifier: reasonable inferences only. The Court “need not accept as

true legal conclusions, or threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements.” Brooks v. Ross, 578 F.3d 574, 578 (7th

Cir. 2009).



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      Briarwood’s complaint primarily takes the latter course—arguing, for

instance, that the appraisal award was “[dis]ingenuous at best,” and that West Bend’s

“unfair claim practices [are] sufficient to void the entire appraisal award.” Dkt. 1-1

at ¶¶ 15, 18. “But saying so does not make it so.” Guerrero v. BNSF Ry. Co., 929

F.3d 926, 929 (7th Cir. 2019). Rather, Briarwood’s conclusory allegations needlessly

complicate this Court’s review and obscure any meritorious arguments it may have.

Setting those conclusions aside, the Court finds that Briarwood failed to state a claim.


      Courts in Illinois generally compare appraisal awards to other agreements to

arbitrate, “which [are] enforceable in a court of law, and with which a court may

compel compliance.” Beard v. Mount Carroll Mut. Fire Ins. Co., 203 Ill. App. 3d 724,

727 (1990). That analogy backs Briarwood into a tight corner: Appraisal awards must

bind the parties absent gross error, misconduct, or fraud. 70th Court Condo Ass'n v.

Ohio Sec. Ins. Co., No. 16 CV 07723, 2016 U.S. Dist. LEXIS 153959, at *14 (N.D. Ill.

Nov. 7, 2016); see Hayes v. Ennis, 278 Ill. App. 3d 121, 127 (1996) (“Arbitration awards

should be construed, wherever possible, to uphold their validity.”); Nat'l Wrecking Co.

v. Int'l Bhd. of Teamsters, Loc. 731, 990 F.2d 957, 960 (7th Cir. 1993) (“Judicial review

of arbitration awards is narrow because arbitration is intended to be the final

resolution of disputes.”).


      Briarwood never acknowledges—much less refutes—these strict limitations on

judicial review. It merely repeats its dissatisfaction with the final award and argues

that most parties to the appraisal were biased against it. For clarity’s sake, the Court

sorts these criticisms into three groups, challenging the sufficiency of the award, the

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umpire’s qualifications, and West Bend’s selected appraiser. At risk of construing

Briarwood’s pleadings too liberally, moreover, the Court assumes that Briarwood

hopes to void the appraisal award for gross error, misconduct, or fraud.


      To establish gross error, Briarwood must plausibly suggest that the award’s

inadequacy is “so strong, gross, and manifest that it would be impossible to state it

to a man of common sense without producing an exclamation at the inequality of it.”

Hetherington v. Cont'l Ins. Co. of New York, 311 Ill. App. 577, 583 (Ill. App. Ct. 1941)

(internal quotation and citation omitted). Yet, nothing in the complaint supports

Briarwood’s position that any appraiser grossly miscalculated the award. All three

professionals provided estimates below $100,000. And, importantly, Briarwood’s own

appraiser declined to award a $500,000 roof replacement—instead, recommending a

comparable award to what Briarwood received.


      What’s more, Briarwood’s Complaint in no way indicates “corruption or

partisan bias on the part of the appraisers.” Id. (quoting 29 Am .Jur. Sec. 1251 at

934); see Gen. Cas. Co. v. Tracer Indus., Inc., 285 Ill. App. 3d 418, 424 (1996) (finding

no gross error where appraisal award “had logic” to it). On a liberal reading, perhaps

Briarwood intended to argue that West Bend acted in bad faith; it alleges that West

Bend artificially inflated its estimate to force a binding appraisal award, hired its

own employee to appraise the damages, and selected an underqualified umpire. In

the light most favorable to Briarwood, however, those well-plead allegations don’t

plausibly suggest that West Bend somehow engaged in misconduct or fraud.




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      First, Briarwood attacks the mutually selected umpire in several ways,

arguing that he wasn’t licensed to appraise property in Illinois and may have been

biased in West Bend’s favor. Dkt. 1-1 at ¶¶ 12–13, 15. It ignores, however, that its

own appraiser chose the umpire. Id. at ¶ 11. By Briarwood’s logic, the Court should

impose a higher standard on judicial review than even Briarwood imposed in the first

instance. But there’s no allegation that West Bend engaged in misconduct—for

instance, by misrepresenting the umpire’s license or work experience. So, Briarwood

can’t have it both ways. See THE ROCKER, Amazon Prime (20th Century Studios 2008)

(“Well, even though he’s a genius, he’s an idiot.”).


      Second, Briarwood alleges that West Bend substantially increased its initial

appraisal to shortcut the adjustment process. Dkt. 1-1 at ¶¶ 16–17. But it doesn’t

follow that West Bend acted in bad faith. Nothing in the Policy prevents either

appraiser from negotiating with the umpire to reach a binding appraisal award, nor

can the Court conceive of any rule against strategic arbitration. Professionals are

generally entitled, if not required, to revise their conclusions as they see fit based on

new information and credible input from colleagues—arbitrators, even more so. See

Bailey v. Timpone, 75 Ill. 2d 539, 545 (1979) (deferring to an umpire’s assessment of

fair cash value under an identical appraisal procedure).


      Finally, although Briarwood alleges that West Bend hired its own employee to

appraise the damages, it states the opposite in its earlier answer to West Bend’s

counterclaim. Compare Dkt. 1-1 at ¶16 (alleging that West Bend hired its own

employee) with Dkt. 26 ¶¶ 13, 18 (admitting that West Bend hired a third-party).

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When confronted with that inconsistency, Briarwood made no effort to explain. In

fact, neither Party stated how (or if) they expect the Court to evaluate Briarwood’s

inconsistent pleading.


         Admist this ambiguity, the Court returns to binding first principles.

Allegations in pleadings—such as complaints—are judicial admissions, which trump

evidence. Cooper v. Carl A. Nelson & Co., 211 F.3d 1008, 1014 (7th Cir. 2000).

Because judicial admission are formal concessions, a party can plead itself out of court

by admitting facts that show it has no claim. Soo Line R.R. v. St. Louis S.W. Ry., 125

F.3d 481, 483 (7th Cir. 1997). The rationale behind this rule is plain—a party cannot

be allowed to controvert what it has already unequivocally told a court is the truth.

Id. Briarwood is no different. As a sophisticated commercial entity represented by

qualified counsel, Briarwood may not evade dismissal “simply by failing to attach to

[its] complaint a document that proved that [its] claim had no merit.” Tierney v.

Vahle, 304 F.3d 734, 738 (7th Cir. 2002). Rather, in the interests of justice, the Court

construes Briarwood’s judicial admission as part of the pleadings under Federal Rules

8(e) and 10(c). 1 See dkt. 31 at 3,4,7 (repeatedly citing dkt. 26 ¶ 13). With that

admission, Briarwood pleads itself out of court by admitting facts that defeat its

claim.




1 Though some may find this construction too liberal, e.g., Wells Fargo Bank, N.A. v.

Worldwide Shrimp Co., No. 17 CV 4723, 2019 U.S. Dist. LEXIS 150655, at *15 n.8 (N.D. Ill.
Sep. 4, 2019), Briarwood forfeited the chance to join their ranks. Its Response never
mentions the inconsistency between its sworn pleadings—the analytical equivalent of
walking calmly away from the explosion in an action movie.
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      III.   Conclusion


      West Bend’s motion for judgment on the pleadings [31] is granted for those

reasons and its counterclaim for declaratory judgment [17] is dismissed as moot.




Entered: June 6, 2025                              By:__________________________
                                                   Iain D. Johnston
                                                   U.S. District Judge




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